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the superior court AUG 0 7 2018 i
common law CLEP
K, U. 7 Drs Tk
at PAlhipan,, ct C
‘District Court of the united States' FBANICg Ak OUR
"District of Alaska'
Fairbanks
i,manscharles albert,lind ) . .
claimant; ) the lind court:
prosecutor; )
against Y. If%-cy- C90 AS LICK
‘silas hessler;man ) . 7a.
Actor; Alaska State Trooper ) Racine Qe) casey eas;
c/o ALASKA STATE TROOPERS } claim; trespass;
1979 PEGER ROAD
) unlawful papers;
FAIRBANKS, AK 99709 ) (verified)
wrongdoer (s) )
i,man,require,'court of record','trial by jury's
claim:trespass (unlawful papers)
i,man, claim:
. the said wrongdoer(s) trespass upon my property;
. the causal agent of the trespass, comes by way of its use of a
unlawful paper;
e the trespass did and does harm and injury to my property;
. the commencement of the wrong and harm began on 5 July 2017 5:51 PM
location Mile 360 Northbound Richardson mei y Fairbanks;
° the wrong and harm continues to this day, 2éjhety 2018;
. i, require compensation for the initial and continual trespass upon
my property;
. compensation due: twenty thousand dollars;

Notice to agent is notice to principle,notice to principle is notice to agent;

   

I,say here, and will verify in open court,that einche true.

(seal) L. S. a

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a living alaskan,
living on the land,endowed with all his Unalineable Rights.

Date « Audu st 2018

Pll,
and of the Independence of the tinited States of America the Tow-hundred and

 

  

 

 

 

 

 

forty-second. _ Page one of one }
State of AIC County of EOC FS
S hefore me on this day

   
  

of »20.10

Notary Public X RRB Document1 Filed 08/07/18 Page 1 of 1
